

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0538-11






ANTHONY JAMES DIXON, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


 ORANGE COUNTY






Per curiam.  Keasler, and Hervey, J.J., dissent.  Alcala, J., not participating.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3 (b), 
68.4(i) and 68.5 because the original petition is not accompanied by 11 copies, the
petition does not contain a copy of the opinion of the court of appeals and the petition
exceed fifteen pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.


Filed: September 21, 2011

Do Not Publish.


